          Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 1 of 8




                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

    Marc Thompson, et al.,                            §
          Plaintiffs,                                 §
                                                      §
    v.                                                §          CIVIL ACTION NO. 4:15-cv-02464
                                                      §
    Capstone Logistics, LLC, et al.,                  §
          Defendants.                                 §


         PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY TO DEFENDANTS’
             RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                        PARTIAL SUMMARY JUDGMENT

           Plaintiffs Marc Thompson, DeVon Barnes, Byron Collins, Alex Davis, Immanuel

Edens, Darrion Everette, Charles Fortune, Jeffery Grubbs, Lawrence James, Desmond

Pollard, Johnny Ross, Robert Ross, Brandon White, Damien Mathis, Brandon Norman,

and Corey Wells file the following Motion for Leave to File a Reply to Defendants’

Response in Opposition to Plaintiffs’ Motion for Partial Summary Judgment (ECF No.

187):1

                                          PROCEDURAL HISTORY

           This is a wage and hour lawsuit. Defendants employed Plaintiffs as “lumpers” at

grocery supply warehouses where they unloaded pallets of groceries from trucks. Plaintiffs

seek to recover unpaid wages that Defendants owe them under the Fair Labor Standards

Act (FLSA). In January of 2017, Capstone filed a Motion for Partial Summary Judgment

in which it asked the Court to enter judgment as a matter of law in its favor on the applicable


1
    Plaintiffs will refer to the Defendants collectively as “Capstone.”
     Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 2 of 8




method for calculating Plaintiffs’ regular and overtime rates under the FLSA. See ECF No.

114.2

        In early February of 2017, the Court reopened discovery until the end of April and

pushed the dispositive-motions deadline back to May 19, 2017. ECF No. 120. On February

10, 2017, Plaintiffs filed their Response in opposition to Capstone’s First Motion for

Summary Judgment and a Cross-Motion for Partial Summary Judgment on the same issue.

ECF No. 130. The Parties’ initial round of Cross-Motions for Summary Judgment are

currently pending before the Court.3

        In May of 2017, Capstone filed a second Motion for Summary Judgment (ECF No.

170), and Plaintiffs filed a second Motion for Partial Summary Judgment (ECF No. 173).

That same day, Capstone filed a Motion to Sever (ECF No. 168) to which Plaintiffs later

responded (ECF No. 192). The Parties’ second round of cross-Motions for Summary

Judgment are currently pending.

        On June 30, 2017, Plaintiffs filed their Response in opposition to Capstone’s second

Motion for Summary Judgment. ECF No. 193. That same day, Capstone filed a Response

in Opposition to Plaintiffs’ Motion for Partial Summary Judgment. ECF No. 187. Capstone

also filed a lengthy Motion/Memorandum to Strike thousands of pages of evidence that

Plaintiffs offered in support of their Motions, and in opposition to Defendants’ Motions


2
  Capstone also filed a Motion for Partial Summary Judgment on the issue of liability, but later withdrew
it. ECF Nos. 112, 129.
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  Plaintiffs also filed a Motion to Set Aside Magistrate Judge’s Discovery Order, which is currently pending
before the Court. ECF No. 163 (seeking to set aside ECF No. 160). In that Motion, Plaintiffs have requested,
among other things, an order compelling Defendants to present corporate representatives for deposition for
the reasons set forth in Plaintiffs’ Second Motion to Compel Depositions. See ECF Nos. 118, 163.


                                                     2
     Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 3 of 8




(ECF No. 189). Plaintiffs filed their Response in Opposition to Defendants’ Motion to

Strike their Summary Judgment Evidence on August 4, 2017 (ECF No. 199). Capstone’s

Motion to Strike is currently pending.

                              ARGUMENTS AND AUTHORITY

       Neither Rule 56 nor the Local Rules explicitly address a Parties’ right to file a Reply

on summary judgment. This Court’s Procedures also do not address this topic. Plaintiffs

therefore respectfully request leave to file a Reply to Capstone’s arguments for summary

judgment in its favor and against summary judgment in Plaintiffs’ favor set forth in its June

30, 2017 Response (ECF No. 187) for the following reasons:

A.     In Its June 30 Response, Capstone Argued, for the First Time, That Plaintiffs
       Have Failed to Show a Genuine Dispute Over the Knowledge Requirement

       “In order to recover under FLSA, Plaintiff[s] must prove that Defendant[s] had

actual or constructive knowledge that [they were] working during the times for which [they

were] not compensated. Almeida v. Prof'l Janitorial Servs. of Hous., Inc., No. H-06-cv-

02044, 2008 U.S. Dist. LEXIS 112697, at *10 (S.D. Tex. Oct. 15, 2008) (Ellison, J.).

       Notably, neither of Capstone’s pending Motions for Summary Judgment deny or

even mention Plaintiffs’ evidence that they frequently questioned, complained, and

otherwise apprised it of work for which they were not paid. See Defs.’ MSJ # 1 (ECF No.

115) (moving for partial summary judgment solely on the issue of the applicable method

for calculating Plaintiffs’ regular and overtime rates); Defs.’ MSJ # 2 (ECF No. 171, at 13–

32) (arguing only that Plaintiffs cannot offer evidence (1) establishing a genuine dispute

over the accuracy of its time records or (2) permitting a just and reasonable estimate of the



                                              3
    Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 4 of 8




amount and extent of their unpaid overtime work).

       Instead, Capstone misused its June 30 Response as a vehicle for raising new

arguments in support of its own Motion for Summary Judgment concerning the knowledge

element of Plaintiffs’ claims. For example, in its Response, Capstone does not merely argue

that the record contains conflicting evidence on the issue of knowledge that precludes a

summary judgment in Plaintiffs’ favor. Rather, Capstone goes so far as to claim, for the

first time in this case, that “Plaintiffs have not provided any evidence that any of the

Plaintiffs . . . ever complained that their hours were incorrect.” ECF No. 187, at 49

(emphasis added); see also id. at 49 (“Because Plaintiffs have not demonstrated that

Capstone knew about purported uncompensated work, the Court should deny their motion

for summary judgment and enter judgment in favor of Capstone.”). This statement is

demonstrably false. The record contains a substantial amount of evidence that each Plaintiff

did in fact complain, inquire, and/or otherwise inform Capstone about its failure to

accurately or adequately record or compensate their overtime work. Although Plaintiffs

referenced some of their evidence on this issue in their earlier summary judgment briefs

(see ECF Nos. 130, 173, 193), given Capstone’s outright denial of this fact on June 30,

Plaintiffs feel compelled direct the Court’s attention to the full extent of the evidence

establishing this fact beyond genuine dispute.

       In its June 30 Response, Capstone also unfairly accuses Plaintiffs of

“misrepresent[ing site manager Bill] Wood’s testimony” regarding his knowledge of

certain Plaintiffs’ true hours worked and suspicious time entries. Id. at 46–47; see also id.

at 47–48 (denying that Mr. Wood admitted during his deposition that he noticed


                                             4
     Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 5 of 8




“suspicious entries” in Defendants time records but failed to investigate or correct them).

Capstone’s accusations that Plaintiffs have mischaracterized Bill Wood’s testimony

establishing his knowledge of unpaid overtime work are unwarranted. Plaintiffs request an

opportunity to direct the Court’s attention to additional evidence confirming that Mr. Wood

was in fact aware, or should have been aware, that Plaintiffs performed unrecorded

overtime work for which they were not paid. Likewise, Capstone’s claim that “only

Plaintiff Collins was assigned to the perishable dock, making this set of alleged suspicious

entries wholly irrelevant to the rest of Plaintiffs’ claims” is demonstrably false. Id. at 48.

Plaintiffs request an opportunity to direct the Court’s attention to the record evidence

showing that Mr. Collins was not in fact the only Plaintiff who worked on the perishable

dock.

B.      Plaintiffs Further Request Leave to File a Reply to the Other Arguments in
        Capstone’s June 30 Response

        In addition to responding to Capstone’s new knowledge arguments discussed above,

Plaintiffs also seek leave to respond to the other arguments in Capstone’s June 30 Response

for a variety of reasons. For example, Capstone’s assertion that “The Court Already Has

Ruled On The Computation of Pay and Overtime As A Matter Of Law” mischaracterizes

this Court’s purely procedural ruling on its successive Rule 12 Motions. ECF No. 187, at

50. Plaintiffs wish to present their arguments and legal authority for why, notwithstanding

the footnotes addressing piece rates in its pre-answer Opinions, the Court can and should

consider their evidence and arguments regarding Capstone’s improper calculation of their

regular and overtime rates. Moreover, Plaintiffs wish respond to Capstone’s related



                                              5
     Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 6 of 8




argument that they failed to adequately plead Capstone’s violation of the FLSA in this

respect. Id. at 52–53.

                                          PRAYER

       For the foregoing reasons, Plaintiffs respectfully request that the Court (1) grant this

Motion, (2) enter the accompanying proposed order consistent with same, and (3) grant

Plaintiffs any and all other relief to which they may be justly entitled.




                                              6
Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 7 of 8




                               Respectfully submitted,

                               WAGONER LAW FIRM

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                                 7
     Case 4:15-cv-02464 Document 202 Filed on 08/08/17 in TXSD Page 8 of 8




                          CERTIFICATE OF CONFERENCE

       In compliance with the local rules, I hereby certify that, on August 7, 2017, I
unsuccessfully attempted to confer with counsel for the Defendants, Chris Palamountain,
by telephone about the relief sought in the foregoing document.



                                           ________________________
                                           Nicholas J. Wagoner
                                           COUNSEL FOR PLAINTIFFS


                             CERTIFICATE OF SERVICE

        I hereby certify that on August 8, 2017, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, and notice was electronically provided
to the following CM/ECF system participants:

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                                              8
